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                          UNITED STATES DISTRICT COURT
  10
                         CENTRAL DISTRICT OF CALIFORNIA
  11
                                  SOUTHERN DIVISION
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  13   IN RE EXPERIAN DATA BREACH            Case No. 8:15-cv-01592 AG (DFMx)
       LITIGATION
  14                                         Hon. Andrew J. Guilford
  15                                         ORDER GRANTING
                                             STIPULATION TO THE EXTEND
  16                                         PAGE LIMITATION FOR
  17                                         MEMORANDUM OF POINTS AND
                                             AUTHORITIES IN SUPPORT OF
  18                                         PRELIMINARY APPROVAL OF
                                             CLASS ACTION SETTLEMENT
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                        ORDER RE STIPULATION TO EXTEND PAGE LIMIT.
Case 8:15-cv-01592-JLS-DFM Document 284 Filed 11/09/18 Page 2 of 2 Page ID #:5373



   1                                      ORDER
   2         The parties’ Stipulation to the Extend Page Limitation of the Memorandum of
   3   Points and Authorities in Support of Preliminary Approval of Class Action
   4   Settlement is GRANTED.
   5         Plaintiffs’ Memorandum of Points and Authorities in Support of Preliminary
   6   Approval of Class Action Settlement shall not exceed 35 pages.
   7         IT IS SO ORDERED.
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   9               11/9/2018
        Dated:
  10                                            HON. ANDREW J. GUILFORD
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                        ORDER RE STIPULATION TO EXTEND PAGE LIMIT.
